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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 THE NEW YORK TIMES COMPANY,                   Civil Action No. 1:23-cv-11195-SHS

                            Plaintiff,         Hon. Sidney H. Stein

           v.                                  DECLARATION OF PAVEN MALHOTRA
                                               IN SUPPORT OF OPENAI
                                               DEFENDANTS’ REPLY MEMORANDUM
 MICROSOFT CORPORATION, OPENAI,                IN SUPPORT OF MOTION TO
 INC., OPENAI LP, OPENAI GP, LLC,              CONSOLIDATE
 OPENAI, LLC, OPENAI OPCO LLC,
 OPENAI GLOBAL LLC, OAI
 CORPORATION, LLC, OPENAI
 HOLDINGS, LLC,

                             Defendants.

 DAILY NEWS, LP; CHICAGO TRIBUNE               Civil Action No. 1:24-cv-03285-SHS
 COMPANY, LLC; ORLANDO SENTINEL
 COMMUNICATIONS COMPANY, LLC;                  Hon. Sidney H. Stein
 SUN-SENTINEL COMPANY, LLC; SAN                DECLARATION OF PAVEN MALHOTRA
 JOSE MERCURY-NEWS, LLC; DP MEDIA              IN SUPPORT OF OPENAI
 NETWORK, LLC; ORB PUBLISHING, LLC;            DEFENDANTS’ REPLY MEMORANDUM
 AND NORTHWEST PUBLICATIONS, LLC,              IN SUPPORT OF MOTION TO
                                               CONSOLIDATE
                             Plaintiffs,

           v.

 MICROSOFT CORPORATION, OPENAI,
 INC., OPENAI LP, OPENAI GP, LLC,
 OPENAI, LLC, OPENAI OPCO LLC,
 OPENAI GLOBAL LLC, OAI
 CORPORATION, LLC, OPENAI
 HOLDINGS, LLC,

                             Defendants.


DECLARATION OF PAVEN MALHOTRA IN SUPPORT OF OPENAI DEFENDANTS’
    REPLY MEMORANDUM IN SUPPORT OF MOTION TO CONSOLIDATE




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          1.    I am a partner with the law firm of Keker, Van Nest & Peters LLP, counsel of

record for Defendants OpenAI, Inc., OpenAI LP, OpenAI GP, LLC, OpenAI, LLC, OpenAI

OpCo LLC, OpenAI Global LLC, OAI Corporation, LLC, and OpenAI Holdings, LLC

(collectively, “OpenAI”), and am admitted to practice before this Court.

          2.    I have knowledge of the facts set forth in this declaration and, if called to testify

as a witness thereto, could do so competently under oath.

          3.    On June 14, 2024, I met and conferred with counsel for plaintiffs in the Daily

News LP action (“Daily News”). During that conversation, I requested that Daily News

plaintiffs’ counsel identify the number of works at issue in this case, and plaintiffs’ counsel

informed me that they were not in a position to provide that information yet. Their counsel

further informed me that they did not have an estimate as to when they would be able to provide

such information. The following week, on June 21, 2024, I emailed plaintiffs’ counsel to follow

up on my request that they identify the number of works at issue as well as provide an

identification which works are being asserted. On June 24, 2024, plaintiffs’ counsel informed

me that plaintiffs are asserting approximately 8.4 million works, and noted that this number “is

an approximation” and that plaintiffs’ “investigation is ongoing.” A true and correct copy of this

correspondence is attached hereto as Exhibit A.

          4.    To date in the New York Times action, the parties are still negotiating ESI

custodians and search terms and exchanging hit counts.




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          5.    I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct and that this declaration was executed on July 3, 2024, at

San Francisco, California.

                                                                     /s/ Paven Malhotra
                                                                     PAVEN MALHOTRA




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